Case 1:09-Cv-00597-LI\/|B-TCB Document 38-22 Filed 10/23/09 Page 1 of 3 Page|D# 651

EXHIBIT U

ease 1:09-cv-00597-Li\/iB-TCB Documem 33-22 i=iied 10/23/09 Page 2 or 3 Pageliee@els?f`?

Dickinson, Nlichelle J.

From: isabel lVl Humphrey [isabel@hhylavv.com]
Sent: Thursday, October 22, 2009 315‘| P|Vl

To: Dicl<inson, lVliche|le J.

Cc: Randy Yavitz; Candess Hunter; Rothl iVlelissa R.
Subject: RE: Loomis

Nlichelle, Joe has sent to us by overnight mail the revised load fi|e, etc. that you requested This is a rolling
production, as you knowl and your documents certainly have not arrived on the dates they were due either.

Your position that clients should not assist with document production is not novel to us. We have heard that
argued before judges in Arizona. Typically, the lawyers who make that argument are sanctioned for not involving
their clients in document productionl

isabel Ni. l-lumphrey, Esq.

HUNTERl HUlViPHREV & YAV|TZ, PLC
2633 E lndian School Rd, #440
Phoenix, Arizona 850‘|6

Teiephone: 602-275-7733 xisz
Direct Fax: 480-452-1374
isabel@hhylaw.com
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intended recipientl please contact the sender and delete and destroy all copies Thank you.

-- Ortginal l\liessage--

To: "lsabel |Vl Humphrey"

Cc; "Randy Yavitz" , "Candess Hunter" , “Rothl
l\lle|issa R."

From: "Dicl<inson, N[ichelle J."

Sent: 10/22/2009 1 1 :O4AlVl

Subject: Loornis

>> Counsel:

>> P|ease see attached correspondence
>> Nlichelle

>>

P|ease consider the environment
>> before printing this email.

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10/23/2009

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>> information from ESET NODSZ Antivirus, version of virus signature
>> database 4534 (20091022)

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>> `l'I'ie message Was checked by ESET NODBZ Antivirus.
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>> http://www_eset_com

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